
668 S.E.2d 25 (2008)
Robert Lee DOTSON
v.
Robert S. DAVIS.
No. 205P08.
Supreme Court of North Carolina.
October 9, 2008.
Tamara DiVenere, Jeffrey J. Walker, Wilkesboro, for Dotson.
William Lipscomb, for Davis.

ORDER
Upon consideration of the petition filed on the 2nd day of May 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
